          Case: 24-1635 Document:
Case 2:21-cv-12193-MFL-APP ECF No.7-1   Filed: 08/28/2024
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                                                     Filed 08/28/24                                  (1 of 2)




                                         Case No. 24-1635

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER

In re: ROBERT SAMUEL SHUMAKE, JR.

               Petitioner



   Petitioner having previously been advised that failure to satisfy certain specified obligations

would result in dismissal of the case for want of prosecution and it appearing that the petitioner

has failed to satisfy the following obligation(s):

       The proper fee was not paid by August 9, 2024.

   It is therefore ORDERED that this cause be, and it hereby is, dismissed for want of

prosecution.

                                                     ENTERED PURSUANT TO RULE 45(a),
                                                     RULES OF THE SIXTH CIRCUIT
                                                     Kelly L. Stephens, Clerk


Issued: August 28, 2024
          Case: 24-1635 Document:
Case 2:21-cv-12193-MFL-APP ECF No.7-2   Filed: 08/28/2024
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                                                     Filed 08/28/24                               (2 of 2)




                       United States Court of Appeals for the Sixth Circuit



U.S. Mail Notice of Docket Activity

The following transaction was filed on 08/28/2024.

Case Name: In re: Robert Shumake, Jr.
Case Number: 24-1635

Docket Text:
ORDER filed to dismiss for want of prosecution for petitioner's failure to pay fee by August 9,
2024. No mandate to issue.

The following documents(s) are associated with this transaction:
Document Description: Order

Notice will be sent to:

Mr. Robert Samuel Shumake Jr.
4072 Huckleberry Circle
Dallas, TX 75216

A copy of this notice will be issued to:

Ms. Kinikia D. Essix
